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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


UNITED STATES OF AMERICA,                    )
                                             )
                                             )    Case No: 1:19-cr-00057-LO
        v.                                   )
                                             )
PETER LE, et al.                             )
                                             )
               Defendant.                    )


        Memorandum of Points and Authorities in Support of “Defendant’s Motion
        to Dismiss Count 1, Paragraphs (2) (3) (7) and (12) and Counts 24 and 25 of
         the Third Superseding Indictment As Said Counts and Paragraphs Violate
                                 21 U. S. C. § 812(b)(1).”

        Defendant Spencer Pak, by and through counsel, Alan J. Cilman, the following

memorandum of points and authorities in support of “Defendant’s Motion to Dismiss Count 1,

Paragraphs (2) (3) (7) and (12) and Counts 24 and 25 of the Third Superseding Indictment As

Said Counts and Paragraphs Violate 21 U. S. C. § 812(b)(1).”

Facts

        Count 1, paragraph 2 charges that Defendant Spencer Pak conspired “to unlawfully,

knowingly and intentionally distribute one hundred kilograms or more of marijuana, a Schedule I,

controlled substance”. Count 1, paragraph 3 charges that Defendant Spencer Pak conspired “to

unlawfully, knowingly and intentionally distribute a mixture and substance containing a detectable

amount of tetrahydrocannabinol (THC), a Schedule I, controlled substance”. Count 1, paragraph

2 charges that Defendant Spencer Pak conspired “to unlawfully, knowingly and intentionally

manufacture, distribute and possess with the intent to manufacture and distribute 1,000 or more

marijuana plants”. Count 1, paragraph 12 charges that Defendant Spencer Pak conspired “to

unlawfully, knowingly and intentionally sell drug paraphernalia and to use the mails and other
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facilities of interstate commerce to transport drug paraphernalia, that is, devices for use in

compounding, converting, concealing, producing, processing, preparing, ingesting, inhaling, or

otherwise introducing into the human body unlawful controlled substances, including THC and

marijuana and products derived from marijuana”.

       Count 24 charges that Defendant Spencer Pak “knowing that he was an unlawful user of a

(sp.) marijuana, a controlled substance, did unlawfully and knowingly possess, in and affecting

commerce, a firearm, that is, a semiautomatic rifle, said firearm having travelled in interstate and

foreign commerce”. Count 25 charges that Defendant Spencer Pak “knowing that he was an

unlawful user of marijuana, a controlled substance, did unlawfully and knowingly possess, in and

affecting commerce, a firearm, that is, a semiautomatic pistol, said firearm having travelled in

interstate and foreign commerce”.

       Argument

       1. Both Marijuana and THC Are Illegally or Improperly Classified as Schedule 1
          Drugs.
       Neither marijuana nor THC meet the requirements of schedule I and both substances are

illegally or improperly classified as such. 21 U. S. C. § 812 lists marijuana and THC as schedule

I substances. However, the requirements of for schedule I are set forth in 21 U. S. C. §

812(b)(1), which provides:

       PLACEMENT ON SCHEDULES; FINDINGS REQUIRED
       Except where control is required by United States obligations under an
       international treaty, convention, or protocol, in effect on October 27, 1970, and
       except in the case of an immediate precursor a drug or other substance may not be
       placed in any schedule unless the findings required for such schedule are made
       with respect to such drug or other substance. The findings required for each of the
       schedules are as follows:

       (1)     SCHEDULE I.—

          (A) The drug or other substance has a high potential for abuse.

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           (B) The drug or other substance has no currently accepted medical use in
               treatment in the United States.

           (C) There is a lack of accepted safety for use of the drug or other substance
               under medical supervision.

        It is generally accepted and defendant will prove that no one has died from an overdose

of either marijuana or THC. Nor, is there evidence that either marijuana or THC is addictive, or

that if there is a potential for addiction that it is in the same category as heroin and the other

substances described in schedule I.

        With regard to accepted medical treatment, according to the National Conference of State

Legislatures, 33 states, the District of Columbia, Puerto Rico and Guam have legalized marijuana

and tetrahydrocannabinol for medical use.

        Since those states, districts and territories are in the United States, the second requirement

has not been met. Because marijuana and THC are being provided under medical supervision,

the third requirement has not been met.

        As noted in the motion 8 states and the District of Columbia have legalized recreational

use of marijuana and THC.

        Interestingly, the classification of marijuana is so out of date that the statute does not use

the term marijuana; rather it uses “marihuana”, spelling that was abandoned in the 1960’s.

        2. The Attorney General Has Failed to Comply With the Law.

        21 U. S. C. § 811 entitled “Authority and Criteria for Classification of Substances”

provides in pertinent part:


        (a) RULES AND REGULATIONS OF ATTORNEY GENERAL; HEARING

        The Attorney General shall apply the provisions of this subchapter to the
        controlled substances listed in the schedules established by section 812 and to any

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       other drug or other substance added to such schedules under this
       subchapter. Except as provided in subsections (d) and (e), the Attorney General
       may by rule …

       (2) remove any drug or other substance from the schedules if he finds that the
       drug or other substance does not meet the requirements for inclusion in any
       schedule.

       With the proliferation of medical marijuana and THC throughout the United states, the

Attorney General has been obligated to reclassify, but he has not done so.

       Defendant, as a citizen of the United States is entitled to the benefit of the laws of the

United States including 21 U. S. C. § 811 and 21 U. S. C. § 812. This has been the most basic

principle American Jurisprudence. The basic concept of the Rule of Law was expounded and

explained in the legendary case of Marbury v. Madison, 5 U.S. 137, 163, 2 L. Ed. 60, 1 Cranch

137 (1803), wherein Justice Marshall address the authority and the responsibility of the Courts and

the right of an individual to find redress therein.

       The very essence of civil liberty certainly consists in the right of every individual
       to claim the protection of the laws whenever he receives an injury. …
       Justice Marshall explains this principle and its enforcement in the Courts by

quoting Blackstone, “Commentaries” volume 3, pages 23 and 109:

       “[I]t is a general and indisputable rule that where there is a legal right, there is
       also a legal remedy by suit or action at law whenever that right is invaded.”
       “And herein I shall for the present only remark that all possible injuries
       whatsoever that did not fall within the exclusive cognizance of either the
       ecclesiastical, military, or maritime tribunals are, for that very reason, within the
       cognizance of the common law courts of justice, for it is a settled and invariable
       principle in the laws of England that every right, when withheld, must have a
       remedy, and every injury its proper redress.”
       5 U.S. at 163.

       Justice Marshall then applied Blackstone’s thoughts into what has become the very

underpinning of American jurisprudence:


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       The Government of the United States has been emphatically termed a government
       of laws, and not of men. It will certainly cease to deserve this high appellation if
       the laws furnish no remedy for the violation of a vested legal right.
       (Id.)

       Unquestionably, Congress codified the requirements for scheduling to ensure that

citizens and others would face charges, convictions and/or punishment consistent with

regard to controlled drugs consistent with dangers and other considerations said drugs

have as said dangers are enumerated in the various schedules. To allow the executive to

ignore the requirements of the law and to prohibit the Defendant the right to establish that

the substances with which he is charged do not comport with the scheduling

requirements, denies the defendant a remedy for a vested right; renders 21 U. S. C. §

812(b)(1) a meaningless, impotent law; and, violates Due Process of Law.

Conclusion

       WHEREFORE, Petitioner prays that the Court order the relief sought herein and/or such

other and further relief as it may deem just.

Respectfully Submitted,

                                                             Spencer Pak
                                                             By Counsel


s/Alan J. Cilman
Alan J. Cilman
VSB #13066
Counsel for Defendant
10474 Armstrong Street
Fairfax, VA 22030
Telephone: (703) 261-6226
Facsimile: (703) 268-5182
acilman@aol.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of September 2019, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to the following:

James Trump, AUSA and the other attorneys of record on behalf of the United States
Office of the United States Attorney
2100 Jamieson Avenue
Alexandria, VA 22314

and, each of the attorneys of record for the co-defendants.



                                                     ______/s/______________
                                                     Alan J. Cilman
                                                     Virginia State Bar #13066
                                                     Counsel for Defendant
                                                     10474 Armstrong Street
                                                     Fairfax, VA 22030
                                                     Telephone: (703) 261-6226
                                                     Facsimile: (703) 268-5182
                                                     acilman@aol.com




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